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                                      1 Abbas Kazerounian, Esq. (SBN: 249203)       Joshua Swigart, Esq. (SBN: 225557)
                                      2 ak@kazlg.com                                josh@westcoastlitigation.com
                                        KAZEROUNI LAW GROUP, APC                    Yana A. Hart, Esq. (SBN: 306499)
                                      3 245 Fischer Avenue, Unit D1                 yana@westcoastlitigation.com
                                      4 Costa Mesa, CA 92626                        HYDE & SWIGART, APC
                                        Telephone: (800) 400-6808                   2221 Camino Del Rio South, Suite 101
                                      5 Facsimile: (800) 520-5523                   San Diego, CA 92108
                                      6                                             Telephone: (619) 233-7770
                                           Daniel G. Shay, Esq. (SBN: 250548)       Facsimile: (619) 297-1022
                                      7    danielshay@tcpafdcpa.com
                                      8    LAW OFFICE OF DANIEL G. SHAY
                                           409 Camino Del Rio South, Suite 101B
                                      9    San Diego, CA 92108
                                      10   Telephone: (619) 222-7429
                                           Facsimile: (866) 431-3292
                                      11
                                      12 Attorneys for Plaintiff
                                         LINDA ALVAREZ
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                                      13
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                                      14                      UNITED STATES DISTRICT COURT
                                      15                    SOUTHERN DISTRICT OF CALIFORNIA
                                      16 LINDA ALVAREZ, Individually              Case No.: '18CV0151 BEN BLM
                                         and On Behalf of All Others
                                      17 Similarly Situated,                      CLASS ACTION
                                      18
                                                       Plaintiff,                 COMPLAINT FOR DAMAGES AND
                                      19                                          INJUNCTIVE RELIEF PURSUANT
                                      20                        v.                TO THE TELEPHONE CONSUMER
                                                                                  PROTECTION ACT, 47 U.S.C. § 227
                                      21                                          ET SEQ.
                                           CLIENT SERVICES, INC.,
                                      22
                                                                                  JURY TRIAL DEMANDED
                                      23              Defendant.
                                      24
                                      25
                                      26
                                      27
                                      28

                                           CLASS ACTION COMPLAINT               1
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                                      1
                                                                              INTRODUCTION
                                      2
                                            1.   Plaintiff LINDA ALVAREZ (“Plaintiff”) brings this Class Action Complaint
                                      3
                                                 for damages, injunctive relief, and any other available legal or equitable
                                      4
                                                 remedies, resulting from the illegal actions of defendant CLIENT
                                      5
                                                 SERVICES, INC. (“Defendant”) in negligently, willfully and knowingly
                                      6
                                                 contacting Plaintiff on Plaintiff’s cell phone without consent, in violation of
                                      7
                                                 the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”),
                                      8
                                                 thereby invading Plaintiff’s privacy.
                                      9
                                            2.   Plaintiff alleges as follows upon personal knowledge as to herself and her
                                      10
                                                 own acts and experiences, and, as to all other matters, upon information and
                                      11
                                                 belief, including investigation conducted by her attorney.
                                      12
                                            3.   The TCPA was designed to prevent calls like the ones described within this
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                                      13
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                                                 Complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous
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                                      14
                                                 consumer complaints about abuses of telephone technology – for example,
                                      15
                                                 computerized calls dispatched to private homes – prompted Congress to pass
                                      16
                                                 the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
                                      17
                                            4.   In enacting the TCPA, Congress intended to give consumers a choice as to
                                      18
                                                 how creditors and telemarketers may call them, and made specific findings
                                      19
                                                 that “[t]echnologies that might allow consumers to avoid receiving such calls
                                      20
                                                 are not universally available, are costly, are unlikely to be enforced, or place
                                      21
                                                 an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11.
                                      22
                                                 Toward this end, Congress found that:
                                      23
                                                        [b]anning such automated or prerecorded telephone calls
                                      24                to the home, except when the receiving party consents to
                                                        receiving the call or when such calls are necessary in an
                                      25                emergency situation affecting the health and safety of the
                                                        consumer, is the only effective means of protecting
                                      26                telephone consumers from this nuisance and privacy
                                                        invasion.
                                      27
                                                  Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012
                                      28
                                                  WL 3292838, at* 4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings

                                           CLASS ACTION COMPLAINT                    2
                                           Case 3:18-cv-00151-BEN-BLM Document 1 Filed 01/23/18 PageID.3 Page 3 of 11


                                      1
                                                  on TCPA’s purpose).
                                      2
                                            5.   Congress also specifically found that “the evidence presented to the Congress
                                      3
                                                 indicates that automated or prerecorded calls are a nuisance and an invasion
                                      4
                                                 of privacy, regardless of the type of call….” Id. at §§ 12-13. See also, Mims,
                                      5
                                                 132 S. Ct. at 744.
                                      6
                                            6.   Plaintiff brings this case as a class action seeking damages for herself and
                                      7
                                                 others similarly situated.
                                      8
                                                                              JURISDICTION AND VENUE
                                      9
                                            7.   This court has federal question jurisdiction pursuant to 28 U.S.C. § 1331
                                      10
                                                 because this case arises out of the TCPA, 47 U.S.C. § 227 et seq, which is a
                                      11
                                                 federal consumer protection law.
                                      12
                                            8.   Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b)(2) because
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                                                 (i) the events giving rise to Plaintiff’s claims occurred in this District; (ii)
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                                      14
                                                 Plaintiff resides in this District; and (iii) Defendant transacts business within
                                      15
                                                 this District.
                                      16
                                            9.   Upon information and belief, Defendant regularly and continuously conducts
                                      17
                                                 business within this district, and thus, personal jurisdiction is established.
                                      18
                                                                                      PARTIES
                                      19
                                            10. Plaintiff, at all times mentioned herein, is and was a resident of the County of
                                      20
                                                 San Diego, in the State of California.
                                      21
                                            11. Plaintiff is, and at all times mentioned herein was, a “person” as defined by
                                      22
                                                 47 U.S.C. § 153 (39).
                                      23
                                            12. Plaintiff is informed and believes, and thereon alleges, that Defendant is, and
                                      24
                                                 at all times mentioned herein was, a Missouri corporation, and is a “person”
                                      25
                                                 as defined by 47 U.S.C. § 153 (39).
                                      26
                                            13. Plaintiff alleges that at all times relevant herein Defendant conducted business
                                      27
                                                 in this judicial district.
                                      28

                                           CLASS ACTION COMPLAINT                      3
                                           Case 3:18-cv-00151-BEN-BLM Document 1 Filed 01/23/18 PageID.4 Page 4 of 11


                                       1
                                                                          FACTUAL ALLEGATIONS
                                       2
                                       3    14. Sometime prior to December of 2016, Plaintiff allegedly incurred a debt to
                                       4        Bank of America, which was later sold, transferred or assigned to Defendant.
                                       5        As it is irrelevant to this action, Plaintiff currently takes no position as to
                                       6        whether or not this alleged debt was actually owed.
                                       7    15. Plaintiff was one of thousands of consumers harassed by Defendant to pay an
                                       8        alleged debt.
                                       9    16. On December 16, 2016, the Law Office of Daniel Shay (“Shay”) with
                                      10        Plaintiff’s authorization and on Plaintiff’s behalf, faxed and mailed cease and
                                      11        desist letters to Bank of America informing it and by proxy Defendant of the
                                      12        following:
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                                      13
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                                                            [Plaintiff] hereby revokes any prior express consent
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                                      14                    that may have been given to receive telephone calls,
                                                            expressively to [Plaintiff’s] cellular telephone, from an
                                      15                    Automated Telephone Dialing System or an artificial
                                      16                    or pre-recorded voice, as outlined in the Telephone
                                                            Consumer Protection Act, 47 U.S.C. § 227 et seq. and
                                      17
                                                            [Plaintiff] also revokes any applicable business
                                      18                    relationship.
                                      19
                                                            [Plaintiff] has retained [Shay] to stop creditor
                                      20                    harassment and to discharge your claim(s) through
                                                            bankruptcy. Whether you are an original creditor, or a
                                      21
                                                            collector, you must cease and desist all communication
                                      22                    with [Plaintiff] as required by Cal. Civ. Code §
                                                            1788.17 via 15 U.S.C. 1692…
                                      23
                                      24 17. Despite Plaintiff’s and Shay’s request to cease and desist any direct
                                      25       communication with Plaintiff, Defendant called Plaintiff on or about
                                      26       December 20, 2016, at approximately 10:31 a.m. on her cellular phone ending
                                      27       in “8662”.
                                      28

                                           CLASS ACTION COMPLAINT                     4
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                                      1 18. Again, on or about December 21, 2016, at approximately 11:49 a.m.,
                                      2        Defendant called Plaintiff’s cellular phone ending with “8662”.
                                      3
                                            19. Upon information and belief, Defendant made these and other calls to
                                      4
                                                Plaintiff using an “automatic telephone dialing system” (“ATDS”), as defined
                                      5
                                                by 47 U.S.C. § 227(a)(1).
                                      6
                                            20. Upon information and belief, Defendant’s ATDS has the capacity to store or
                                      7
                                                produce telephone numbers to be called, using a random or sequential number
                                      8
                                                generator.
                                      9
                                            21. On or about December 15, 2016, at or around 9:05 a.m. Defendant called
                                      10
                                                Plaintiff’s cell phone. Upon answering Defendant’s call, all Plaintiff heard
                                      11
                                                was silence, prompting Plaintiff to abandon the call.
                                      12
                                            22. At all material times hereto, Defendant did not have a “prior express consent”
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                                      13
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                                                to place autodialed calls to Plaintiff’s cellular telephone, pursuant to 47
      C OS TA M ES A , CA 92 62 6




                                      14
                                                U.S.C. § 227 (b)(1)(A).
                                      15
                                            23. Plaintiff had never given Defendant any consent to receive calls on her
                                      16
                                                cellular phone, pursuant to 47 U.S.C. § 227 (b)(1)(A).
                                      17
                                            24. Furthermore, if any prior express consent was ever given, it was effectively
                                      18
                                                revoked through Shay’s and Plaintiff’s facsimile and mailed correspondence
                                      19
                                                on December 16, 2016.
                                      20
                                            25. Through the unwanted calls from Defendant, Plaintiff suffered an invasion of
                                      21
                                                her legally protected interest in privacy, which is specifically addressed and
                                      22
                                                protected by the TCPA.
                                      23
                                            26. Plaintiff was personally affected because she was frustrated and distressed
                                      24
                                                that Defendant contacted her cell phone, without any prior consent and
                                      25
                                                despite Plaintiff’s and Shay’s specifically requesting that Defendant cease all
                                      26
                                                direct communications with Plaintiff.
                                      27
                                            27. Upon information and belief, the telephone equipment used by Defendant to
                                      28
                                                place the calls at issue has the capacity to dial telephone numbers

                                           CLASS ACTION COMPLAINT                   5
                                           Case 3:18-cv-00151-BEN-BLM Document 1 Filed 01/23/18 PageID.6 Page 6 of 11


                                      1
                                                automatically from a stored list or database without human intervention, using
                                      2
                                                a random or sequential number generator in violation of the TCPA.
                                      3
                                            28. Defendant’s calls constituted calls that were not made for emergency
                                      4
                                                purposes, as defined by 47 U.S.C. § 227(b)(1)(A).
                                      5
                                            29. Defendant’s calls were placed to a telephone number assigned to a cell phone
                                      6
                                                service for which Plaintiff incurs a charge for incoming calls pursuant to 47
                                      7
                                                U.S.C. § 227(b)(1).
                                      8
                                            30. Plaintiff was personally affected by Defendant’s aforementioned conduct
                                      9
                                                because Plaintiff was frustrated and distressed that Defendant interrupted
                                      10
                                                Plaintiff with unwanted calls using an ATDS.
                                      11
                                            31. Defendant’s persistent calls forced Plaintiff and other similarly situated class
                                      12
                                                members to live without the utility of their cell phones by occupying their cell
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                                                phones with one or more unwanted calls, causing a nuisance and lost time.
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                                      14
                                            32. Plaintiff is informed and believes and here upon alleges, that the calls were
                                      15
                                                made by Defendant and/or Defendant’s agent(s), with Defendant’s
                                      16
                                                permission, knowledge, control, and for Defendant’s benefit.
                                      17
                                            33. Through the aforementioned conduct, Defendant or its agent(s) has violated
                                      18
                                                47 U.S.C. § 227(b)(1).
                                      19
                                                                      CLASS ACTION ALLEGATIONS
                                      20
                                            34. Plaintiff brings this action on behalf of herself and on behalf of all others
                                      21
                                                similarly situated (the “Class”).
                                      22
                                            35. Plaintiff represents, and is a member of the Class, consisting of:
                                      23
                                                        All persons within the United States who received any
                                      24                telephone call from Defendant or its agent/s and/or
                                      25                employee/s, not sent for emergency purposes, to said
                                                        person’s cellular telephone made through the use of any
                                      26                automatic telephone dialing system and/or with an
                                      27                artificial or prerecorded voice within the four years prior
                                                        to the filing of this Complaint.
                                      28

                                           CLASS ACTION COMPLAINT                    6
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                                      1
                                            36. Defendant and its employees or agents are excluded from the Class. Plaintiff
                                      2
                                                does not know the number of members in the Class, but believes the Class
                                      3
                                                members number in the thousands, if not more. Thus, this matter should be
                                      4
                                                certified as a Class action to assist in the expeditious litigation of this matter.
                                      5
                                            37. Plaintiff and members of the Class were harmed by the acts of Defendant in at
                                      6
                                                least the following ways: Defendant, either directly or through their agents,
                                      7
                                                illegally contacted Plaintiff and the Class members via their cell phones by
                                      8
                                                using an ATDS, thereby causing Plaintiff and the Class members to incur
                                      9
                                                certain cell phone charges or reduce cell phone time for which Plaintiff and
                                      10
                                                the Class members previously paid, and invading the privacy of said Plaintiff
                                      11
                                                and the Class members. Plaintiff and the Class members were damaged
                                      12
                                                thereby.
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                                      13
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                                            38. This suit seeks only damages and injunctive relief for recovery of economic
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                                      14
                                                injury on behalf of the Class, and it expressly is not intended to request any
                                      15
                                                recovery for personal injury and claims related thereto. Plaintiff reserves the
                                      16
                                                right to expand the Class definition to seek recovery on behalf of additional
                                      17
                                                persons as warranted as facts are learned in further investigation and
                                      18
                                                discovery.
                                      19
                                            39. Numerosity. The joinder of the Class members is impractical and the
                                      20
                                                disposition of their claims in the Class action will provide substantial benefits
                                      21
                                                both to the parties and to the court. The Class can be identified through
                                      22
                                                Defendant’s records or Defendant’s agents’ records.
                                      23
                                            40. Existence and Predominance of Common Questions of Law and Fact.
                                      24
                                                There is a well-defined community of interest in the questions of law and fact
                                      25
                                                involved affecting the parties to be represented. The questions of law and fact
                                      26
                                                to the Class predominate over questions which may affect individual Class
                                      27
                                                members, including the following:
                                      28

                                           CLASS ACTION COMPLAINT                     7
                                           Case 3:18-cv-00151-BEN-BLM Document 1 Filed 01/23/18 PageID.8 Page 8 of 11


                                      1
                                                  a)    Whether, within the four years prior to the filing of this Complaint,
                                      2
                                                        Defendant or their agents initiated any telephonic communications to
                                      3
                                                        the Class (other than a message made for emergency purposes or
                                      4
                                                        made with the prior express consent of the called party) using any
                                      5
                                                        automatic dialing system or prerecorded voice to any telephone
                                      6
                                                        number assigned to a cell phone service;
                                      7
                                                  b)    Whether Defendant can meet its burden of showing Defendant
                                      8
                                                        obtained prior express written consent;
                                      9
                                                  c)    Whether Defendant’s conduct was knowing and/or willful;
                                      10
                                                  d)    Whether Plaintiff and the Class members were damaged thereby, and
                                      11
                                                        the extent of damages for such violation; and
                                      12
                                                  e)    Whether Defendant and their agents should be enjoined from
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                                                        engaging in such conduct in the future.
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                                      14
                                            41. Typicality. As a person that received at least one telephonic communication
                                      15
                                                from Defendant’s ATDS without Plaintiff’s prior express consent, Plaintiff is
                                      16
                                                asserting claims that are typical of the Class.         Plaintiff will fairly and
                                      17
                                                adequately represent and protect the interests of the Class in that Plaintiff has
                                      18
                                                no interests antagonistic to any member of the Class.
                                      19
                                            42. Plaintiff and the members of the Class have all suffered irreparable harm as a
                                      20
                                                result of Defendant’s unlawful and wrongful conduct. Absent a class action,
                                      21
                                                the Class will continue to face the potential for irreparable harm. In addition,
                                      22
                                                these violations of law will be allowed to proceed without remedy and
                                      23
                                                Defendant will likely continue such illegal conduct. Because of the size of
                                      24
                                                the individual Class member’s claims, few, if any, Class members could
                                      25
                                                afford to seek legal redress for the wrongs complained of herein.
                                      26
                                            43. Adequacy of Representation. Plaintiff will fairly and adequately represent
                                      27
                                                and protect the interests of other members of the Class in that Plaintiff has no
                                      28
                                                interests antagonistic to any member of the Class. Further, Plaintiff has

                                           CLASS ACTION COMPLAINT                   8
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                                      1
                                                  retained counsel experienced in handling class action claims and claims
                                      2
                                                  involving violations of the Telephone Consumer Protection Act.
                                      3
                                            44. Superiority. A class action is a superior method for the fair and efficient
                                      4
                                                  adjudication of this controversy. Class-wide damages are essential to induce
                                      5
                                                  Defendant to comply with federal and California law. The interest of Class
                                      6
                                                  members in individually controlling the prosecution of separate claims against
                                      7
                                                  Defendant is small because the maximum statutory damages in an individual
                                      8
                                                  action for violation of privacy are minimal. Management of these claims is
                                      9
                                                  likely to present significantly fewer difficulties than those presented in many
                                      10
                                                  class claims.
                                      11
                                            45. Defendant has acted on grounds generally applicable to the Class, thereby
                                      12
                                                  making appropriate final injunctive relief and corresponding declaratory relief
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                                      13
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                                                  with respect to the Class as a whole.
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                                      14
                                                                          FIRST CAUSE OF ACTION
                                      15
                                                                  NEGLIGENT VIOLATIONS OF THE TCPA
                                      16
                                                                          47 U.S.C. § 227 ET SEQ.
                                      17
                                            46. Plaintiff incorporates by reference all of the above paragraphs of this
                                      18
                                                  Complaint as though fully stated herein.
                                      19
                                            47. The foregoing acts and omissions of Defendant constitute numerous and
                                      20
                                                  multiple negligent violations of the TCPA, including but not limited to each
                                      21
                                                  and every one of the above-cited provisions of 47 U.S.C. § 227, et seq.
                                      22
                                            48. As a result of Defendant’s negligent violations of 47 U.S.C. § 227, et seq.,
                                      23
                                                  Plaintiff and the Class are entitled to an award of $500.00 in statutory
                                      24
                                                  damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                                      25
                                            49. Plaintiff and the Class are also entitled to and seek injunctive relief
                                      26
                                                  prohibiting such conduct in the future.
                                      27
                                            ///
                                      28
                                            ///

                                           CLASS ACTION COMPLAINT                     9
                                           Case 3:18-cv-00151-BEN-BLM Document 1 Filed 01/23/18 PageID.10 Page 10 of 11


                                      1
                                                                         SECOND CAUSE OF ACTION
                                      2
                                                         KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                                      3
                                                                          47 U.S.C. § 227 ET SEQ.
                                      4
                                             50. Plaintiff incorporates by reference all of the above paragraphs of this
                                      5
                                                 Complaint as though fully stated herein.
                                      6
                                             51. The foregoing acts and omissions of Defendant constitute numerous and
                                      7
                                                 multiple knowing and/or willful violations of the TCPA, including but not
                                      8
                                                 limited to each and every one of the above-cited provisions of 47 U.S.C. §
                                      9
                                                 227, et seq.
                                      10
                                             52. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
                                      11
                                                 227, et seq., Plaintiff and the Class are entitled to an award of $1,500.00 in
                                      12
                                                 statutory damages, for each and every violation, pursuant to 47 U.S.C. §
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                                      13
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                                                 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
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                                      14
                                             53. Plaintiff and the Class are also entitled to and seek injunctive relief
                                      15
                                                 prohibiting such conduct in the future.
                                      16
                                                                           PRAYER FOR RELIEF
                                      17
                                                  WHEREFORE, Plaintiff and the Class members pray for judgment as
                                      18
                                            follows against Defendant:
                                      19
                                                  • Certify the Class as requested herein;
                                      20
                                                  • Appoint Plaintiff to serve as the Class Representative in this matter;
                                      21
                                                  • Appoint Plaintiff’s Counsel as Class Counsel in this matter;
                                      22
                                                  • Providing such further relief as may be just and proper.
                                      23
                                            In addition, Plaintiff and the Class members pray for further judgment as follows
                                      24
                                            against Defendant:
                                      25
                                                                         NEGLIGENT VIOLATION OF
                                      26
                                                                   THE TCPA, 47 U.S.C. § 227 ET SEQ.
                                      27
                                                  • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
                                      28
                                                     Plaintiff seeks for herself and each Class member $500.00 in statutory

                                            CLASS ACTION COMPLAINT                  10
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                                      1
                                                     damages, for each and every violation, pursuant to 47 U.S.C.
                                      2
                                                     § 227(b)(3)(B);
                                      3
                                                  • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                      4
                                                     conduct in the future;
                                      5
                                                  • Any other relief the Court may deem just and proper.
                                      6
                                                                     KNOWING/WILLFUL VIOLATION OF
                                      7
                                                                   THE TCPA, 47 U.S.C. § 227 ET SEQ.
                                      8
                                                  • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                                      9
                                                     § 227(b)(1), Plaintiff seeks for herself and each Class member $1,500.00
                                      10
                                                     in statutory damages, for each and every violation, pursuant to 47 U.S.C.
                                      11
                                                     § 227(b)(3)(B);
                                      12
                                                  • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
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                                                     conduct in the future;
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                                      14
                                                  • Any other relief the Court may deem just and proper.
                                      15
                                      16
                                                                               TRIAL BY JURY
                                      17
                                             54. Pursuant to the seventh amendment to the Constitution of the United States of
                                      18
                                                 America, Plaintiff is entitled to, and demand, a trial by jury.
                                      19
                                      20
                                            Dated: January 22, 2018                        Respectfully submitted,
                                      21
                                                                                           HYDE AND SWIGART, APC
                                      22
                                      23                                                   By: s/ Yana A. Hart_____
                                                                                           YANA A. HART, ESQ.
                                      24                                                   YANA@WESTCOASTLITIGATION.COM
                                      25                                                   ATTORNEY FOR PLAINTIFF

                                      26
                                      27
                                      28

                                            CLASS ACTION COMPLAINT                    11
